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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge Robert E. Blackburn

Criminal Case No. 10-cr-00210-REB

UNITED STATES OF AMERICA,

        Plaintiff,
v.

1. SHANE LEE ALLEN,

        Defendant.


                                         MINUTE ORDER1


        A Notice of Disposition was filed on May 13, 2010. A Joint Change of Plea
hearing is set for July 6, 2010, at 11:00 a.m. , with Criminal Case No. 10-cr-00180-
REB, USA v. Vela. Counsel for the parties shall deliver or e-mail a courtesy copy
of all change of plea documents separately to Judge Blackburn’s chambers AND
to the Probation Department not later than 48 hours before the change of plea
hearing date. See D.C.COLO.LCrR 11.1C. If the documents are not timely submitted,
the hearing will be vacated. There will be no exceptions to this policy. On the date of
the hearing, counsel shall then bring with them an original and one (1) copy of the plea
agreement and the statement in advance. See D.C.COLO.LCrR 11.1F.

        IT IS FURTHER ORDERED as follows:

        1. That the telephonic setting conference set for May 24, 2010, is VACATED;

        2. That the Trial Preparation Conference set for June 18, 2010, is VACATED;

        3. That the jury trial set to commence June 21, 2010, is VACATED; and

       4. That, to the extent necessary, the United States Marshal shall assist in
securing the defendant’s appearance for the change of plea hearing.

        Dated: May 14, 2010



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        This minute order is issued pursuant to the express authority of the Honorable Robert E.
Blackburn, United States District Judge for the District of Colorado.
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